                         UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

UNITED STATES OF AMERICA                             ) DOCKET NO.: 3:17-MJ-239-DCK
                                                     )
      v.                                             ) ORDER TO DISMISS THE COMPLAINT
                                                     )
MARCUS LENARD ARMSTRONG                              )
                                                     )



           Leave of Court is hereby granted for the dismissal of the complaint in the above-captioned

 case without prejudice.

           The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

 Marshals Service, Defense Counsel, and the United States Attorney's Office.



                                         Signed: May 2, 2018




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